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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CASE NO. 23-MJ-00191-MAU
                                                  :
                       v.                         :
                                                  :
 LOWELL GATES                                     :
                                                  :
                            Defendant.            :


JOINT MOTION TO CONTINUE STATUS CONFERENCE AND TO EXCLUDE TIME
                  UNDER THE SPEEDY TRIAL ACT

       The United States of America, by and through the United States Attorney for the District

of Columbia, and the defendant, through undersigned counsel, respectfully file this motion to

continue the status conference now scheduled for Tuesday, January 23, 2024, in the above-

captioned matter until Thursday, March 21, 2024, or a proximate date convenient to the Court.

The defendant previously waived his right to a preliminary hearing, and the parties are seeking

additional time to engage in plea negotiations, to calculate likely sentencing guidelines, and to

review discovery.

       The parties additionally request that the Court exclude the time until the status conference

on or about Thursday, March 21, 2024, pursuant to 18 U.S.C. § 3161 et seq., on the basis that the

ends of justice by taking such actions outweighs the best interests of the public and the defendant

in a speedy indictment and trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A).

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       For the reasons set forth above, the parties respectfully request that this motion be

allowed and the attached Order entered.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ Craig Estes_____
                                             CRAIG ESTES
                                             Assistant United States Attorney
                                             United States Attorney’s Office for the
                                             District of Columbia (detailee)
                                             Massachusetts Bar No. 670370
                                             craig.estes@usdoj.gov



                                             LOWELL GATES
                                             Defendant

                                       By:   /s/ Jerry Russo
                                             JERRY RUSSO
                                             Tucker Arensberg, P.C.
                                             Attorney for Lowell Gates
                                             300 Corporate Center Drive
                                             Suite 200
                                             Camp Hill, PA 17011
                                             jrusso@tuckerlaw.com


                                      Certificate of Service

        I certify that a copy of the foregoing was served on counsel of record for the defendant
via the Court’s Electronic Filing System.

                                      By:    /s/ Craig Estes_____
                                             CRAIG ESTES
                                             Assistant United States Attorney




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                       IN THE UNITED STATES DISTRICT COURT
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 UNITED STATES OF AMERICA                         :       CASE NO. 23-MJ-00191-MAU
                                                  :
                       v.                         :
                                                  :
 LOWELL GATES                                     :
                                                  :
                            Defendant.            :


                                             ORDER

         Based upon the representation in the Consent Motion to Continue the Status Conference

and to Exclude Time under the Speedy Trial Act, and upon consideration of the entire record, it is

hereby

         ORDERED that the Motion is GRANTED; it is further ORDERED that the currently

scheduled status conference on Tuesday, January 23, 2024, be continued for good cause until

Thursday, March 21, 2024, at 1:00 p.m.; and it is further

         ORDERED that the time between Tuesday, January 23, 2024, and Thursday, March 21,

2023, shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C. §§ 3161(b),

3161(h)(7)(A).    The Court finds that the ends of justice served by the granting of such a

continuance outweighs the best interests of the public and the defendant in a speedy indictment

and trial, as a continuance will provide the parties additional time to continue negotiation a

potential pretrial resolution and the review discovery.


Date:                                                 ___________________________________
                                                      JUDGE MOXILA A. UPADHYAYA
                                                      UNITED STATES MAGISTRATE JUDGE



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